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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION


 STATE OF LOUISIANA ET AL                                         CASE NO. 2:21-CV-01074

 VERSUS                                                           JUDGE JAMES D. CAIN, JR.

 JOSEPH R BIDEN JR ET AL                                          MAGISTRATE JUDGE KAY

                                                       ORDER

            For the reasons set forth in the Memorandum Ruling,

            IT IS ORDERED that the Motion for Preliminary Injunction (Doc. 53) is hereby

 GRANTED.

            IT IS THEREFORE ORDERED that the Defendants,1 Cecilia Rouse, Shalanda

 Young, Kei Koizumi, Janet Yellen, Deb Haaland, Tom Vilsack, Gina Raimondo, Xavier

 Becerra, Pete Buttigieg, Jennifer Granholm, Brenda Mallory, Michael S. Regan, Gina

 McCarthy, Brian Deese, Jack Danielson, U.S. Environmental Protection Agency, U.S.

 Department of Energy, U.S. Department of Transportation, U.S. Department of

 Agriculture, U.S.               Department of Interior, National Highway Traffic Safety

 Administration, and the Interagency Working Group on Social Cost of Greenhouse Gases

 are ENJOINED and RESTRAINED from:

            (1) adopting, employing, treating as binding, or relying upon the work product of

                the Interagency Working Group (“IWG”); (2) enjoining Defendants from

                independently relying upon the IWG’s methodology considering global effects,


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     With the exception of President Biden as he is not an agency under the Administrative Procedures Act.
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           discount rates, and time horizons; and (3) ordering Defendants to return to the

           guidance of Circular A-4 in conducting regulatory analysis;

        (2) Adopting, employing, treating as binding, or relying upon any Social Cost of

           Greenhouse Gas estimates based on global effects or that otherwise fails to

           comply with applicable law;

        (3) Adopting, employing, treating as binding, or relying upon any estimate of Social

           Cost of Greenhouse Gases that does not utilize discount rates of 3 and 7 percent

           or that otherwise does not comply with Circular A-4; and

        (4) Relying upon or implementing Section 5 of Executive Order 13990 in any

           manner.

        IT IS FURTHER ORDERED that this Order shall become effective immediately

 and shall remain in effect, pending the final resolution of this case or until further orders

 of this Court, the United States Court of Appeals for the Fifth Circuit, or the United States

 Supreme Court.

        IT IS FURTHER ORDERED that no security bond shall be required under

 Federal Rule of Civil Procedure 65.

        THUS DONE AND SIGNED in Chambers on this 11th day of February, 2021.




                       _____________________________________
                                JAMES D. CAIN, JR.
                         UNITED STATES DISTRICT JUDGE




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